     Case 8:19-cv-01351-JVS-DFM Document 39 Filed 09/23/19 Page 1 of 2 Page ID #:1380


1      Louis A. Coffelt, Jr.
2      General Delivery
3      6771 Warner Avenue
4      Huntington Beach, CA 92647
5      email: Louis.Coffelt@gmail.com
6      Phone: (657) 456-3112
7      Pro Se
8                                         UNITED STATES DISTRICT COURT
9                                             for the Central District of California
10     Louis A. Coffelt, Jr.,                             )
11              plaintiff,                               )              Case No. 8:19-cv-01351 JVS - DFM
12               -v-                                     )
13     Andrew Anagnost, defendant,                        )
14     Pascal W. Di Fronzo, defendant,                   )                     Date: October 7, 2019
15     Autodesk, Inc., defendant,                         )                    Time: 10:30 a.m.
16     Sony Pictures Imageworks, defendant,               )                    Courtroom: Santa Ana, 10C
17     Sony Corporation of America, defendant, )                               Hon. James V. Selna
18     Larry Gritz, defendant.                           )
19     _________________________________ )
20

21                     PLAINTIFF’S REPLY TO ORDER TO SHOW CAUSE (Dkt. No. 38)
22

23

24               Plaintiff, Louis A. Coffelt, Jr. (Coffelt) submits this reply in response to the court’s Order to
25     Show Cause (Dkt. No.38) filed September 23, 2019.
26

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                                Coffelt -v- Anagnost et. al., Plaintiff’s Reply to Order to Show Cause   1
     Case 8:19-cv-01351-JVS-DFM Document 39 Filed 09/23/19 Page 2 of 2 Page ID #:1381


1                                                      COFFELT’S REPLY
2                Coffelt inadvertently overlooked the requirement of appearing at the Scheduling Conference
3      today, September 23, 2019.
4                During the month of September 2019, Coffelt has faced unusual financial difficulties. Coffelt
5      must pay about $ 400.00 to the California Department of Motor Vehicles by September 30, 2019.
6                During the past 2 years Coffelt has been working part time in day labor. These recent
7      financial problems imposed Coffelt must seek more stable work. Coffelt has no means of significant
8      financial assistance from any person.
9                On Friday, September 20, 2019, Coffelt was offered full time employment at Tolemar LLC,
10     located at 5221 Oceanus Drive, Huntington Beach, CA 92649, telephone: (714) 362-8166.
11               On Friday, September 20, 2019, Coffelt accepted the above identified offer for full time
12     employment. On Monday, September 23, 2019, Coffelt worked between the hours of 7:30 a.m.
13     to 4:00 p.m. at the above identified employer.
14                                                              CONCLUSION
15               Coffelt’s financial difficulties and new employment have significantly contributed to Coffelt
16     inadvertently overlooking the requirement of appearing at the Scheduling Conference on
17     September 23, 2019.
18               Coffelt intends to fully comply with all court orders.
19               For the above reasons, Coffelt requests the court to not impose any sanctions.
20               Coffelt’s new employment makes it difficult to serve the court with chambers copies.
21     Coffelt will, within 30 days, seek having chambers copies delivered to the court by special courier.
22     At this time, Coffelt requests the court to waive the requirement of Coffelt delivering chambers
23     copies.
24

25

26     Date: September 23 , 2019                                   By: /s/ Louis A. Coffelt, Jr.
27                                                                        (Plaintiff, Pro Se)
28



                                Coffelt -v- Anagnost et. al., Plaintiff’s Reply to Order to Show Cause   2
